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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ART AKIANE LLC,                                )
                                               )
             Plaintiff,                        )
                                               )      No. 19-cv-02952
      v.                                       )
                                               )      Judge Edmond E. Chang
ART & SOULWORKS LLC,                           )
CAROL CORNELIUSON,                             )
CARPENTREE, LLC., and                          )
VIRGINIA HOBSON,                               )
                                               )
             Defendants.                       )

                                        ORDER

       On August 28, 2020, the Court entered a preliminary injunction order in this
dispute over Art & Soulworks’ online display of Akiane Kramarik’s artwork. R. 177.
In part, the Court held that certain social media posts by Art & Soulworks—referred
to in the preliminary injunction order as the “montage posts”—were likely to infringe
on Art Akiane’s intellectual property rights. R. 177 at 46. As a result, the Court
ordered Art and Soulworks to go back through its social media pages and delete any
montage posts that are currently visible to the public. Id. at 67. The Defendants now
move to reconsider that part of the preliminary injunction decision and also ask to
stay enforcement until the reconsideration motion is decided. R. 181. For the reasons
explained below, the motion to reconsider is denied.

       Federal Rule of Civil Procedure 54(b) says that a court may reconsider an
interlocutory ruling “at any time before the entry of a judgment adjudicating all the
claims and all the parties’ rights and liabilities.” Fed R. Civ. P. 54(b). Motions for
reconsideration serve the narrow purpose of correcting manifest errors of law or fact
or presenting newly discovered evidence. Rothwell Cotton Co. v. Rosenthal & Co., 827
F.2d 246, 251 (7th Cir. 1987). But a motion for reconsideration “does not provide a
vehicle for a party to undo its own procedural failures, and it certainly does not allow
a party to introduce new evidence or advance arguments that could and should have
been presented to the district court prior to the judgment.” Bordelon v. Chi. Sch.
Reform Bd. of Trs., 233 F.3d 524, 529 (7th Cir. 2000) (cleaned up); see also Caisse
Nationale de Credit Agricole v. CBI Indus., Inc., 90 F.3d 1264, 1270 (7th Cir. 1996)
(“[R]econsideration is not for rehashing previously rejected arguments.”).
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       Here, Art & Soulworks’ primary argument—which originally was buried in a
footnote in the Defendants’ 31-page response brief—is as follows: the montage posts
were “derivative works” allegedly created under the License Agreement. R. 182 at 6.
And under 17 U.S.C. § 203(b)(1), “[a] derivative work prepared under authority of [a
licensing] grant before its termination may continue to be utilized under the terms of
the grant after its termination… .” R. 182 at 8. In other words, the License Agreement
allowed Art & Soulworks to create derivative works because it gave the Defendant
the right to use Akiane’s artwork “for all promotional purposes.” R. 182 at 8-9. Art &
Soulworks took advantage of that licensing provision by creating the montage posts,
which allegedly are derivative works. Because they allegedly are derivative works,
17 U.S.C. § 203(b)(1) applies. Under that statute, the right to use the derivative works
survives the termination of the License Agreement. R. 182 at 9.

      But all of this rests on an assumption that the original footnote did not fully
address, namely, that the montage posts actually count as “derivative works” under
the Copyright Act (as distinct from the colloquial sense of the word “derivative”). That
assumption is not accurate.

       Under the Copyright Act, a “derivative work” is defined as “a work based upon
one or more preexisting works, such as a translation, musical arrangement,
dramatization, fictionalization, motion picture version, sound recording, art
reproduction, abridgment, condensation, or any other form in which a work may be
recast, transformed, or adapted.” 17 U.S.C. § 101. But all that Art & Soulworks did
was superimpose religious scripture and other text—none of which itself was
copyrightable—onto the artwork. That is not enough to “readily distinguish[]” the
montages from the underlying artwork. See Schrock v. Learning Curve Int’l, Inc., 586
F.3d 513, 516 (7th Cir. 2009). On the preliminary-injunction record, the montages did
not recast, transform, or adapt the underlying artwork with sufficient originality such
that the montages count as “derivative works.” It is true that the preliminary-
injunction order referred, at times, to the montage posts as “derivative,” but that term
was used in its colloquial sense rather than as a matter of the copyright law.

       For these reasons, the motion to reconsider is denied, and the request for a stay
is also denied as moot. For now, the tracking status of October 9, 2020 remains in
place (but no appearance is required, as the case will not be called).


                                                      ENTERED:

                                                            s/Edmond E. Chang
                                                      Honorable Edmond E. Chang
                                                      United States District Judge

DATE: September 4, 2020


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